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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

STEPHEN WASHINGTON,

               Petitioner,
       v.                                            CASE NO. 2:05-cv-160
                                                     CRIM. NO. 2:97-cr-99
                                                     JUDGE GRAHAM
                                                     Magistrate Judge King
UNITED STATES OF AMERICA,

               Respondent.


                                    OPINION AND ORDER

       On April 18, 2006, the Magistrate Judge issued a Report and Recommendation

recommending that the instant motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C.

§2255 be dismissed.     Petitioner has filed objections to the Magistrate Judge’s Report and

Recommendation. Petitioner objects solely to the Magistrate Judge’s recommendation that claim

one be dismissed.

       Pursuant to 28 U.S.C. 636(b)(1), this Court has conducted a de novo review of those portions

of the Report and Recommendation objected to by petitioner. For the reasons discussed in the

Report and Recommendation petitioner’s objections are OVERRULED.

       The Report and Recommendation is ADOPTED and AFFIRMED. This action is hereby

DISMISSED.

       IT IS SO ORDERED.

                                                             s/James L. Graham
                                                             JAMES L. GRAHAM
                                                             United States District Judge

DATE: May 15, 2006
